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UNITED sTATEs DISTRICT CoURT § fn‘/

WESTERN I)IsTRICT_ on TENNESSEE 65 Mé m PH w 99
Western I)lvlslon

 

UNITED STATES OF AMERICA

-v- Case No. 2:04cr20140-6-Ml

NICHOLAS MARTIN

 

ORDER SETT|NG
COND|T|ONS OF RELEASE

IT IS ORDERED that the release of the defendant is subject to the following conditions and provisions:

(l) The defendant shall not commit any offense in violation of federal, state or local law while on release in this
ease.

(2) The defendant shall immediately advise the court, Pretrial Services Ofiice, Probation Office, defense counsel
and the U.S. Attomey in writing of any change in address and telephone number.

(3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence
imposed as directed The defendant shall next appear as directed by the Court.

ADD|T|ONAL COND|T|ONS OF RELEASE

ln order reasonably to assure the appearance of the defendant and the safety of other persons and the
community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

0 The defendant is released on personal recognizance

Secured Financial Conditions

0 report as directed by the Prettial Services Offlce.

o other: DEFENDANT IS ORDERED TO RESIDE AND TRAVEL ONLY IN THE WESTERN DISTRICT
OF TENNESSEE WITHOUT PRIOR APPROVAL OF PRETRIAL SERVICES. DEFENDANT IS TO
RESIDE WITH HIS MOTHER. .

0 other: Defendant shall abide by ali conditions of pretrial release previously imposed..

ADV|CE OF PENALT|ES AND SANCT|ONS

TO THE DEFENDANT:

YOU ARE ADV|SED OF THE FOLLOW|NG PENALT|ES AND SANCT|ONS:

Thls document entered on the doc

AO iBBA Order Setting Condiiions ot Re|ease

l nce
with Flule 55 and/or 32(b) FRCrP on p

 

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A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for
your arrest, a revocation of release, an order of detention, and a prosecution for contempt of court and could result in
a tenn of imprisomnent, a fine, or both.

'l`he commission of a Federal offense while on pretrial release may result in an additional sentence to a term
of imprisonment of not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one
year, if the offense is a misdemeanor. This sentence shall be in addition to any other sentence.

Federal law makes it a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to
obstruct a criminal investigation lt is a crime punishable by up to ten years of imprisonment, and a 3250,000 fine or
both to tamper with a witness, victim or informant; to retaliate or attempt to retaliate against a witness, victim or
informant; or to intimidate or attempt to intimidate a witness, victim, juror, informant or officer of the court. The
penalties for tampering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted
killing.

If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the
service of sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be
imposed lf you are convicted of:

(l) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you
shall be fined not more than $250,000 or imprisoned for not more than ten years, or both;

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall
be fined not more than $250,000 or imprisoned not more than five years, or both;

(3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;

(4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any
other offense. In addition, a failure to appear may result in the forfeiture of any bond posted

ACKNOWLEDGMENT OF DEFENDANT

I acknowledge that l am the defendant in this case and that I am aware of the conditions of release. l promise
to obey all conditions of release, to appear as directcd, and to surrender for service of any sentence imposed lam aware
of the penalties and sanctions set forth above.

§ignature of Defendant

NICHOLAS MARTIN

3591 APPLING LAKE DRIVE
BARTLETT, TN 38133

901-3 84-0068

Thle document entered on the docket sheet ln compliance
with Flule 55 and/or aa(b) FHCrP on

_____*~

AO 199A Order Seiling Conditl`ons of Release -2~

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D|RECTIONS TO THE UN|TED STATES MARSHAL

The defendant is ORDERED released after processing

The United States marshal is ORDERED to keep the defendant in custody until notified by the Clerk or
J udicial Officer that the defendant has posted bond and/ or complied with all other conditions for release. The
defendant shall be produced before the appropriate judicial officer at the time and place specified, if still in
custody.

1376

Date: lune 14, 2005

 

‘rU M. PHAM
UNITED srArEs MAGIsTRArE roDGE

AO 199A Order Setting Condilions of Release -3-

   

UNITED `sATES DISTRIC COUR - W'"ERNT DSTCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 184 in
case 2:04-CR-20140 vvas distributed by faX, mail, or direct printing on
.lune 15, 2005 to the parties listed

 

 

Michael Edvvin Scholl

THE SCHOLL LAW FIRM
8 S. Third St.

Fourth Floor

l\/lemphis7 TN 38103--238

T. Clifton Harviel

LAW OFFICE OF CLIFTON HARVIEL
50 N. Front St.

Ste. 850

l\/lemphis7 TN 38103

Stephen A. Sauer

LAW OFFICE OF STEPHEN A. SAUER
8 S. Third St.

4th Floor

l\/lemphis7 TN 38103

Randall P. Salky

LAW OFFICE OF RANDALL SALKY
266 S. Front St.

l\/lemphis7 TN 38103

Lorna S. McClusky
MASSEY & MCCLUSKY
3074 East Street

l\/lemphis7 TN 38128

Blake Ballin

BALLIN BALLIN & FISHMAN
200 Jefferson Ave.

Ste. 1250

l\/lemphis7 TN 38103

Tony R. Arvin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

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Leslie I. Ballin

BALLIN BALLIN & FISHMAN
200 Jefferson Ave.

Ste. 1250

1\/lemphis7 TN 38103

Honorable .l on McCalla
US DISTRICT COURT

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